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| United States Bankruptcy Court for the:

Ea ste rf District of 2 é i Seer &
4 (State i
/ Case number (rinoun Chapter CI Check if this is an

amended filing

Official Form 201
et orm 207
Voluntary Petition for Non-Individuals Filing for Bankru

If more space is heeded, attach a Separate sheet to this fo
' number (if known). For more information, a Separate doc

Picy 04/19

Pages, write the debtor's name and the case
is available.

tm. On the top of any additional

ument, instructions for Bankrupicy Forms for Non-Individuais,

14. Debtors name

: 2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

 

. 3. Debtor’s federal Employer ‘
i identification Number (EEN) ZL. 3 FZ a 3 LH

4. Debtor's address Principal place of business

   

 

Mailing address, if different from principal place
of business

CaS fi . :
Number treet Number Streat
P.O. Box
City State ZIP Code

Location of principal assets, if different from
principal! place of business

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street
City State ZIP Code
' 5. Debtors website (URL)
: ion (including Limit d Liabifity Company (LLC and Limited Liability Partnership (LLP))
6. Type of debtor Phonon (inciuding Limite. y pany ( )
Partnership (excluding LLP}
Cl other. Specify:
Official Form 204 Voluntary Petition for Non-Individuals Filing for Bankrupicy page 1

“hip

 
9 14750740
Casé€ o-25-/1L000-ast DOCl FiledOQs/2ey/2z5 Entered Voicvic

 

7. Describe debtor's business A. Check one:

CI Health Care Business (as defined in 11 U.S.C. § 104(27A))

ingle Asset Real Estate (as defined in T1US.C. § 191(51B))
Railroad (as defined in 11U.8.c.§ 1071{44))
Q Stockbroker (as defined in 11 USC. § 107(53A))
C] Commodity Broker (as defined in 11 U.S.C. § 101(6))

Ch Clearing Bank {as defined in 14 U.S.C. § 787(3))
C} None of the above

 

B. Check alf that apply:

Cl Tax-exempt entity (as desctibed in 26 U.S.C. 8 501 )

Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

i Investment advisor (as defined in 15 U.S.C. § B0b-2(a\(17))

'C. NAICS (North American industry assifica
http-www.uscourts. ov/four-digit-national

  

 

tion System) 4-digit code that

 

 

est describes debtor. Sea

 

rassociation-naics-codes :

: 8 Under which chapter of the Oheckones
: Bankruptcy Code is the
. debtor filing? “pcre 7

. Chapter 9

Chapter 11. Check all that apply.

 

CF Debtor's aggregate noncontingent liquidated debts (excluding debts owed to

insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

Cl the debior is a small business debtor as defined in 11 U.S.c. § 101(54D). If the

of operations, cash-flow Statement, and federal income tax return or i
documents do not exist, follow the procedure in11US.c.§ 44 16(1)(B).

C) A plan is being filed with this petition,

Cy Acceptances of the plan were solicited Prepetition from one ‘or more classes of
creditors, in accordance with 11U8.C.§ 1126(b).

Ch The debtor is required to file periodic reports (for example, 10K and 10Q) with the
: Securities and Exchange Commission according to § 13 or 7 5(d) of the Securities
: Exchange Act of 1934. File the Atfachment to Voluntary Petition for Non-indivi
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

Cl The debtor is a shell o

Ompany as defined in the Securities Exchange Act of 1934. Rule
12b-2,

QD Chapter 12

   

_ 8. Were prior bankruptcy case: Ghno
filed by or against the debtor

within the last 8 years? D Yes. District When Case number
7 ae ee ee

MM? DD SY YYY
FF more than 2 cases, attach a

; District When Case number
———_ ee
separate list. ee MM? DST yw

errr eet —_—. sa .

 

 

tt ence rp

10. Are any bankruptcy cases Yo

 

 

 

 

ending or being filed by a a
bucinews partner or an Yes. Debtor Relationship
to So
i affiliate of the debtor? District When
, 7 .
List all cases. If more than 1,

 

 

attach a separate list. Case number, if known a
S aeremeaeere tae ttre er eet eee eer ry ee a ar ar te area rn errr ere
Official Form 204 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 0-25-/1000-ast

 

11. Why is the case filed in this

district?

12. Does the debtor own or have

Possession of any real
Property or personal
that needs immediate
attention?

 

___._ A bankruptey case concerning debtor's aifiliate, genera! partner, or partnership is pending in

property

Statistical and administrative information

Doc Ll Filed OQsiey25 Entered Vsi2yizo L4ia0i40

Case number (if known)

a

Check all that apply:

Sevier hos had its domicile, principal place of business, or principal assets in this district for 180 days
dey ey preceding the date of this petition or for a longer part of such 180 days than in any other
istrict,

this district.

No
ye Answer below for each property that needs immediate attention, Attach additional sheets it needed,

Why does the Property need immediate attention?

OQ

(Check aif that apply,}

it poses or is alleged to pose a threat of imminent and identi

fiable hazard to public health or safety,
What is the hazard?

CQ) other

Where is the property?
“Number Sigg

City ZIP Code

State ZIP Cade

is the Property insured?

C3 Na
TO

CF Yes. Insurance agency

Contact name

 

 

 

Phone

 

   

 

Beiter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

 

 

 

 

' 13. Debtor's estimation of Check one:

available funds Oj Funds will be available for distribution to unsecured creditors.
1-49 C} 1,000-5,000
‘14, Estimated number of 50-99

creditors

15. Estimated assets

Officia! Form 2014

2) 25,001-50,000

CY 5,007-10,000 Ci 50,001-100,000

 

 

O 100-199 [2 10,001-25,000 QQ More than 100,000
200-999,
Q $0-$50,000 $1,000,001-310 milion CI $500,000,007-81 bilfion

$50,001-$100,000
$106,001-$500,000
$600,001-$1 million

CH $10,000,001-$50 million
C] $50,000,001-8100 million
QO) $100,000,601-$500 million

Cd $1,000,000,001-$40 bition
C) $10,000,000,001-850 billion
CU More than $50 billion

Voluntary Petition for Non-individuals Filing for Bankruptcy page 3
£9129 14750740
o-Z290-/1L000-ast Docl Filed Qs/2y/z5 Entered Qo/
Case 0o-20-

Debtor g¢ 6x Case number (teen
Name
Woe

Oj $0- 50,000

is. Estimated liabilities 850.001 e 00 000
' $100,001-$500,000
$500,001-$4 Milfion

 

a a

ee ets

 

Ci $1,000,001-$19 million Ol $500,000,001-$1 bition
$10,000,001-850 mition $1,000,000,001-$19 billion
$50,000,001-8100 milion

C3 $70,090,900,001-$s0 billion
$1 00,000,001-$500 million More than 350 billion

  

 

 

 

 

 

 

——— Tt a 8 — rr arn Se tg ay mnt — —
Request for Reliet, Declaration, and Signatures
WARNING — Bankruptcy fraud is a serious crime Making a false Statement in Connection with a bankruptcy case Can Tesult in fines up to
$500,000 ar imprisonment for UP to 20 years, or both 18US.C §§ 152 1341, 1519, and 3571
7, Declaration and Signatur eoF 4 The debtor requests relief in accordance with the chapier of title 11, United States Code, specified in this
authorized representative of atti
debtor pextion.
@ ‘thave been authorized to file this petition on behalt of the debtor.
Bm have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of Perjury that the fore
Executed on .3 1 202
Mug 5

Signature

going is irue and correct.

     

 

authorized representative of debtor

Title Secreta, Y

ete

 

ee a
18. Signature of attorney x

: Date
ee
Signature of attomey for debtor

PREG am

Firm name

 

Number Street

City

 

 

 

 

 

State ZIP Code

 

Contact phone

 

 

 

Email address

 

 

 

Bar number State

 

 

 

 

Official Form 204 Voluntary Petition for Non-Individuais Filing for Bankruptcy page 4

 
Case o-29-/1000-ast DOC 1 Filed Vslezvizo Entered WHEMLS 14.5040

UNITED STATES 8 ANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

The Carlile Grom Hao, 7

Debtor( 8)

DECLARA TION OF PRO SE DEBTOR(S)

All individuals 7] ling for bankru ptcy pro se (without an attorney), must provide the following information:

Name af Debtorts): | te Org. Lhe. rt ney
Address: - ° Eos reeree. Copiague Aly U7E4

Email Address: Aecarly lagecuphY OG Amar. COr a
Phone Number: eae - L008- 98 3g. ne ent

 

CHECK THE APPROPRI LE RESPONSES:
FILING FEE:
ye PAID THE FILING PEE JN FULL.
_. APPLIED FOR INS TAY IMENT PAYMENTS OR WAIVER OF THE FILING FEE

PREVIOUS CASES FILED: Fee: $22. 70835 2, 3.

 

ASSISTANCE WITH PAPERWORK:
7 NO ASSISPANCT WITH PREPARATION OFFILING PETITION ap SCHEDULES
HAD ASSISTANCL WITH PREPARATION OF/FILING PETITION AND SCHEDULES

It Deblor bad assistance. the following information must be completed:

Name of individual eho assisted:

 

Address: _ we eee -
Phone Number: ( ee
Amount-Paid for \ssistanec: Boo

T'We herehy declare the in formation above under the penalty of perjury.

Lodated: S\24\z023

    

Debgor's Signature

Joint Debtor's Sie HaLur e

oN
” Z20-f/1O00-ast VDOC Filed Usi2éyizZ5 Entered Vol/2a/25 14750146
vase o- ONPrED STATES BANKRUPTCY COURT
: EASTERN DISTRICT OF NEW YORK

Www. nveb.uscourts.g. oy

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

_DEBTORG): Ye Carlyle Group Lhd CASE NO..

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any

P other petitioner) hereby makes the following disclosure
, Concerning Related Cases, to the petitioner’s best knowledge,

information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.-Y. LBR 1073-2 if the earlier case

| Was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same:

: (ii) are spouses or &xX-spouses; (Iii) are affiliates, as defined in l1 U.S.C. 8 101(2); (iv) are general partners in the same partnership;

| (v) area partnership and one or more of its general partners: (vi) are partnerships which share one or more common general partners:
, OF (vii) have, or within 189 days of the commencement of either of the Related Cases had, an i

terest in property that was or is

‘ included in the property of another estate under 11 US.C. § 541(a),]

_O NO RELATED CASE Is PENDING OR HAS BEEN PENDING AT ANY TIME.

¥ THE FOLLOWING RELATED CASE(S) 18S PENDING OR HAS BEEN PENDING:

i

(1 CASENO:832°208.35 rupee: Alan. Twat DISTRICT@MIVISION: Fastern 1

CASE STILL PENDING: (YES/NO): NS. Hf closed] Date of closing: —_ Z /2 A / LORD
aA: (SAS ooh

| CURRENT STATUS OF RELATED CASE: Se

(Discharged/awaiting discharge, confirmed, dismissed, ete.)

MANNER IN WHICH CASES ARE RELATED {Refer to NOTE above}: =D Le $77 2. ote b Sot

| REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE “A” (REAL PROPERTY’) WHICH WAS ALSO LISTED IN
| SCHEDULE “4” OF RELATED CASES; 368 Ve ps2art ew

: : Cseiague. ALY LIP 2b
| COG

/2. CASE NO.:

 

 

 

 

 

JUDGE: DISTRICT/DIVISION:
_ CASE STILL PENDING: (YES/NO): Lif closed} Date of closing:

 

 

 

 

" CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

 

REAL PROPERTY LISTED IN DEBTOR?S SCHEDULE “4” (REAL PROPERTY’) WHICH WAS ALSO LISTED EIN
| SCHEDULE “A” OF RELATED CASES:

 

 

 
3 14750146
,aASE O-40-f/lU00-aSt VDOC Ll FileaVUs/zy/25 Entered Vs/2y/2
ve [OVER}

DISCLOSURE OF RELATED CASES (cont'd)

3. CASE NG: JUDGE:
TT

DISTRICT/DIVISION:
CASE STILL PENDING: (YES/NO).

oo
Lf closed] Date of closing:

ot

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

TED (Refer to NOTE above}:

CURRENT STATUS OF RELATED CASE:

MANNER IN WHICH CASES ARE RELA

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “4” CREAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “4” OF RELATED CASES:

$$$ soussrzo
a

NOTE: Pursuant to ILUS.C.§ 109(@), certain individuals who have had prior cases dismissed within the Preceding 189 days
may not be eligible to be debters. $

uch an individual will be required te file a Statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

Lam admitted to practice in the Eastern District of New York CYAN):

 

S$ attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere om this form.

 
  

Signature of Debtor’s Attorney

 

Pro-se Debtor. etitioner

bd eC fC) eoorf

Mailing Address of Debter/Petitioner

ODiague of
Citys State“Zip Code

L04- bE. GESG

Area Code and Telephone Number

Signature

Failure to fully end trutafuily provide all information required by the E.D.N.Y. LBR 1073-2 Stateme
or any other petitioner and their attorney to appropriate sanctions,
ofa trustee or the dismissal of the case with prejudice.

mt may subject the debtor
including without limitation conversion, the appointment

 

 
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Case o-250-/1L000-ast DOCl FiledOQs/2y/z5 Entered Voicvic

Debtor Name lha ¢ oe” la le Crowd ALC
. United States Bankruptcy Court for the: E25 tor f ? District of

Case number Of knowny

  

 

 

| Official Form 202
CL
Declaration Under Penalty of Pe

Af individual who is authorized to act on Dehalf of a non-indivi
this form for the schedutes of assets and liabilities, any o
and any amendments of those documents. This form must s
document, and the date, Bankruptcy Rules 7008 and $011.

riury for Neon-Individual Debtors 12/15

tate the individual's position or relationship to the debtor, the identity of the

' WARNING -- Bankruptcy fraud is a serious crime. Making a false Statement, concealing property, or obtaining money or property by fraud in
, Connection with a bankruptcy Case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.c. §§ 152, 1344,
1519, and 3574.

Declaration and signature

fam the President, another officer, or an authorized agent of the corpora

tion; a member or an authorized agent of the Partnership; or
another individual serving as a Tepresentative of the debtor in this case.

| have examined the information in the documents chacked below and | have a reasonable betief that the injormation is true and correct:

Ca Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

“e

Schedule D: Creditors Who Have Claims Secured y Property {Official Form 2060)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H}

Summary of Assets and Liabilities for Non-individuals {Official Form 206Sum)

Amended Schedule

Chapter 17 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)

Oo oooog

Other document that requires a declaration

 

| declare under Penalty of perjury that the foregoing is true and correct,

Executed on 2\2.4| 2073 Gasp he &. ©

 

 

Signature of individ | signing on behalf of debtor

    

ene

Pésition or relationship to debtor

Official Form 202 Beclaration Under Penaity of Perjury for Non-individual Debtors

 

 

 
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" Debtor name AL; Gf ‘EF,
United States Bankruptcy Court for he:

 
   

Case number (if known}:

a

  

CQ) Check if this is an
. amended fitin
"Official Form 2080 ,
: ET 200 ©

Schedule p: Creditors Whe Have

 

 

 

Claims Secured by Property 42118
Be as complete and accurate as possible.
1. Do any creditors have Claims secured by debtor's property?
CB No. Check this box and submit P@ge 1 of this form te the court with debtor's other schedutes, Debtor has nothing else to report on this form.
Q Yes. Fill in all of the information below.
List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims. Ifa creditor has more than one Column A . . Column &
|| secured claim, list the crecifor Separately for each claim, Amount of claim — "Value of collateral

Do not deduct the vaiue that supports this

of collateral. J. claim
f Creditors name

Describe debtor’s Property that is subject to a Hien
FAL AY. A 5 ungle fanlp Aés tdeuce 3 700,000- ST ced
Creditor’s mailing address
UO Thed hve 36% cl
fa?

|
| ! Describe the lien
i
|
|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor’s email address, if known Is the creditor an insider or related party?
No
Yes
Date debt was incurred hee else liable on this claim?
No
Last 4 digits of account ; : . .
Yes. Fill out Schedule H: Codebfors (Official Form 206H).
number é 3 7 a
; Do multiple creditors have an interest in the As of the petition Tiling date, the claim is:
ame property? Check all that apply.
: ee : ae . . . ontingent
' Yes. Specify each creditor, including this creditor, Unliquidated
and its relative priority, Disputed
Ee] Creditor’s name Describe debtor's property that is subject to a lien
$ 3
Creditors mailing address
i
Describe the tien
Creditor’s email address, if known is the creditor an insider or related party?
QO] ne
OC) ves
Date debt was incurred is anyone else iiable on this claim?
aon OQ No
rast 4 digits of account Ci Yes. Fill out Schedule H: Codebtors (Oficial Form 2064),
number —
Do multiple creditors have an interest in the o ore Petition filing date, the claim is:
same property? Check alll that apply.
QO) No CI Contingent
(4 Yes. Have you already specified the relative Oo Uniiquidated
priority? ol Disputed
Neo. Specify each creditor, including this
creditor, and its relative priority.
Cl ves. The relative priority of creditors is
woo nn SOG on Nimes To rn a tea eet eaten
: 3. Total of the dollar amounts from Part 4, Column A, including the amounts from the Additional s FOO, 0COO-
PB age, if any. _ nnn serene . scenic so seal
Official Form 206D Schedule D:

Creditors Who Have Claims Secured by Property page tof

 
Lebtor if /
lame

Additional Page

 

, WED Uae LS EMETE Vole Tl£o DA.OU.E0
pr OPE oa (Tg le” Cpbup 27a.”

Case number {i known)

a

Column A
Amount of claim

 

Copy this page only if more s

 

 

 

 

 

Column B

Value of collateral
Do nei deduct the value that supports this

 

 

 

 

 

 

 

 

 

 

. . . oo . of collateral: claim
Pace is needed, Continue humbering the imes sequentially from the
; Previous page, . , : .
a Creditor’s name Describe debtor's Property that is subject to a lien
“$ $
| Greditor's maiiing address
|
Describe the lien
Creditor’s email address, if known Is the creditor an insider or related party?
No
CY Yes
Date debt was incurred is anyone else liable on this claim?
Cl No
Last 4 digits of account .
nunber = oractoun oe Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H):
Do raultiple creditors have an interest in the As of the petition filing date, the claim is:
[ same property? Check all that apply.
C) No O Contingent
Cl Yes. Have you already specified the relative Uniiquidated
priority? Cl Disputed
QO No. Specify each creditor, including this
creditor, and its relative priority.
a
ee
ee
OQ} Yes. The relative priority of creditors is
Specified on lines
——
2._) Creditors name Describe debtor’s property that is Subject to a lien
$ $
Creditor’s mailing address

 

 

Creditor’s email address, if known

 

Date debt was incurred

ee

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?

DI no

CT Yes. Have You already specified the relative
priority?
CI No. Specify each creditor, including this
creditor, and its reiative priority.

 

—
nt
et

QO) Yes. The relative priority of creditors is
specified on lines

 

Official Form 206D

 

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

 

 

 

Describe the lien

 

's the creditor an insider or related party?
QO) No
Yes

Is anyone else liable on this claim?
CI Ne
Oh ves. Fill out Schedule A: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.
QO Contingent

Uniiquidated
Disputed

page __

of

 
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Debtor Lh¢. . Carlyle Group LLG

Case number Uf krowen

 

 

 

 

 

List Others te Be Notified for a Debt Already Listed im Part 4

List in alphabetical order any others who must be notified fo

ta debt atready listed in Part 4, Exar
agencies, assignees of claims

mples of entifies that May be listed are collection
listed above, and attorneys for secured creditors,

if no others need to ba notified for the debts listed in Part 1, do not fill out or submit this page, If additional pages are needed, copy this Page,

Oo , On which line in Part1 —_Last 4 digits of
: Name and address did you enter the . account number. -
related creditor? . for this entity:

 

 

 

 

 

Line 2.

 

 

 

 

 

Line 2.

 

 

 

 

 

 

Line 2,

 

 

 

 

 

Line 2,

 

 

 

 

 

 

Line 2.

 

 

 

 

 

Line 2,

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

line 2.

 

 

 

 

 

Line 2.

 

 

 

 

 

 

Line 2,

Form 206D Official Part 2 of Schedule O: Creditors Who Have Claims Secured by Property

 
Case o-25-/L000-ast DOCLl Filed Us/ev/e5 Entered Vsi2yizo 14:50!40

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

x

Tm Re: The Carlyle Growf LLO Case No.

Chapter ~

Bebter(s)

aaa x

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated:

Darepha Crna

Webtor 3

 

Joint Debtor

s/
Attorney for Debtor

 

USBC-44 Rey. 11/15

 
Case o-25-/1L000-ast Doc l

F.N.MLA,

780 Third Ave

30" Floor

New York, NY 10001

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Case o-25-/L000-ast DOCLl Filed Us/ev/e5 Entered Vsi2yizo 14:50!40

ARTICLES OF © ps
DOMESTIC LIMITED LIABILITY COMPANY
Office of the Secretary of the State
30 Trinity Street / P.O, Box 150470/ Hariford, CT 06115-0470 / Rev. 10/01/2004
See reverse for instructions

Space For Office Use Only Filing Fee: $60.00

7)GEHt7

Please contact the Department af Revenue Services or your tax adviser as to any potential tax liability relating to your
business.

1, NAME OF THE LIMITED LIABILITY COMPANY

 

The Carlyle Group, LLC
2. NATURE OF BUSINESS TO BE TRANSACTED OR THE PURPOSES TO BE PROMOTED

The purpose of the limited liability company is to engage in any lawful act or

activity for which a limited liability company may be former under the Connecticut
Limited Liability Company Act.

 

3. PRINCIPAL OFFICE ADDRESS (See instructions for further details.)

81 Woleott Hill Road
Wethersfield, CT 06109

 

4. APPOINTMENT OF STATUTORY AGENT FOR SERVICE OF PROCESS
Name of agent Business address (P.O. Box is not acceptable) _

Glenn T. Terk 81 Welcott Hill Road
Wethersfield, CT 06109

 

 

| Residence address (P.O. Box is not acceptable)
445 Old Reservoir Road

Wethersfield AT ‘06109

Wggntment

 

 

  
 

 

Signature ofagent —

 

5. MANAGEMENT
(Place a check mark next to the following statement gmfy if it applies)

The management of the limited liability company shall be vested in one or more manggers.
6. MANAGER(S) OR MEMBER(S) INFORMATION

 

 

Name Title Business Address a Residence Address

Carlton Gregory Member . 81 Wolcott Hill Road © / cars Riversound Drive
Wethersfield, CT 06109 y Snellville, GA 30039

 

 

 

 

7, EXECUTION

 

Glenn T. Terk need

 

 

Print or type name of organizer Signature

 

 

Reference an 84x 11 attachment if additional space is required

 
Case o-25-/L000-ast DOCLl Filed Us/ev/e5 Entered Vsi2yizo 14:50!40

FILED BY:

Carlton Gregory
81 Wolcott Hill Road
Wethersfield, CT 06109

CUSTOMER REFERENCE:

ARTICLES OF INCORPORATION
OF
JHE CARLYLE GROUP, LLC
Case o-25-/L000-ast DOCLl Filed Us/ev/e5 Entered Vsi2yizo 14:50!40

CERTIFICATE OF
DIRECTOR’S ACTION
OF
THE CARLYLE GROUP, LLC

The undersigned, being all directors of the Corporation, herby adopt the following resolutions:

RESOLVED, that the undersigned are willing to serve as directors and accept their appointment
as such.

RESOLVED, that the directors acknowledge that the certificate of incorporation was filed with
the department of state and that a copy of certificate of incorporation and the filing receipt issued
by the department of state annexed hereto.

RESOLVED, that the by-laws in form adopted by the incorporator(s) and annexed to these
minutes shall be the by-laws of the corporation.

RESOLVED, that the following are elected officers of the Corporation to serve in accordance
with the by-laws

President- Carlton Gregory

Vice President- Debbie O. Jackson
Secretary- Daysha Emanuel
Treasurer- Carlton Gregory

RESOLVED, that the treasurer of the Corporation be and herby is authorized to pay all charges
and expenses incident to or arising out of the organization of the Corporation and to reimburse
any person who has made disbursement therefore.

RESOLVED, that for the purpose of authorizing the Corporation to do business in any state,
territory or dependency in the United States or any foreign country in which it is necessary or
expediency in the United States or any foreign country in which it is necessary or expedient for
this Corporation to transact business the proper officers of the Corporation are hereby authorized
to appoint and substitute all necessary agents or attorneys for service of process, to designate and
change the location of all necessary statutory offices and, under the corporate seal, to make and
file all necessary certificates, reports, power of attorney and other instruments as may be required
by laws of such state, territory, dependency or country to authorize the Corporation to transact
business therein.
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RESOLED, that the form of certificate for shares of the Corporation shall be in the form of the
specimen certificate annexed hereto.

RESOLVED, that the shares of the Corporation are to be issued as follows:

Number Name. Consideration
I Carlton Gregory 100
1 Debbie O. Jackson 50
l Daysha Emanuel 50

RESOLVED, that upon the receipt of payment for shares, the officers shall issue certificates
representing such shares and, as to common shares without par value, the amount of $1.00 per
share shall be allocated to stated capital and the balance of the consideration received shall be
allocated to surplus.

RESOLVED, that upon receipt of services or property with an agreed value equal to payments
equal to the stated capital of such shares, the officers shall issue certificates representing such
shares.

RESOLVED, that any shares of the Corporation which are issued in consideration of a binding
obligation to pay the purchase price or subscription price in cash or other property or a binding
obligation to perform services, shall be held by the Corporation in escrow until the obligation is
performed in full accordance with an escrow agreement annexed hereto; and that the Corporation
shall credit any distributions in respect of such shares held in escrow against any unperformed
obligations.

RESOLVED, that upon written consent of all shareholders, the officers are authorized, but not
directed, to execute and file with the Internal Revenue Service an election of the Corporation to
be treated as a “small business corporation” under the provisions of Subchapter S of Chapter 1 of
the Internal Revenue Code.

RESOLVED, that the fiscal year of the Corporation shall end on the last day of the month in
each year.

RESOLVED, that the principal office of the Corporation be established at

81 Wolcott Hill Road
Wethersfield, CT 06109
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IN WITNESS WHEREOF, the undersigned has subscribed this certificate and hereby affirms the
foregoing as true under the penalties of perjury.

* Dated: October 01, 2004

D7 L)

Carlton os hy (
THE CARLYLE GROUP, YLC

81 Wolcott Hill Road
Wethersfield, CT 06109

 
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SECRETARY OF THE STATE
30 TRINITY STREST
P.O. BOX 150470 .
HARTFORD, CT 06115-0470

BUGUST 17,2007

CLENN T TERK
81 WOLCOTT HILL RD
WETHERSFIELD, CT 06109

RE: Acceptance of Business Filing

This letter is to confirm the acceptance of the following business
filings:

Business Name:
THE CARLYLE GROUP, LLC

“Work Order Number: 2007199614-001
Business Filing Number: 0003516164

Type of Request: ARTICLES OF ORGANIZATION
File Date/Time: AUG.16 2007 O08: 30 AM
Effective Date/Time:

Work Order Payment Received: 609.00
Payment Received: 60.090

Credit on Account: .00

Customer Id; 001484472

Business Id: 0909603

VANESSA MCGUIRE

Commercial Recording Division
860-509-6003

WWW. CONCORD. SOTS.CT.GOV
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BUSINESS FILING REPORT

WORK ORDER NUMBER :2007199614-001
BUSINESS FILING NUMBER: ¢C003516164

BUSINESS NAME:

THE CARLYLE GROUP, LLC

BUSINESS LOCATION:

81 WOLCOTT HILL ROAD
WETHERSFIELD, CT 06109

MEMBER INFORMATION FOR ONE MEMBER:

NAME:CARLTON GREGORY
TITLE : MEMBER

** END OF REPORT **
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Be

a A DEPARTMENT OF THE TREASURY
¥ URS Tarernac REVENUE SERVICE -
PHILADELPHIA PA 19255-8025

fete of this notice: 09-26-2007

Employer Tdentification Number:
00GE99.374577.0004,001 1 MB 0.360 532 XX-XXXXXXX .

teautvcalEEbecalbscceaEbetteescbelatesctefucklasbelactb dda Farm: $o-4

Number of this notice: CP B75 £

THE CARLYLE GROUP LLC

i CARLTON G GREGORY SOLE MER For assistance you may cali us at:
Pa BOX 30574 :

1-800-829-4935
ELMONT WY 11003

TE YOU WRITE, ATTACH THE
STUB OF THIS NOTICE.

WE ASSIGNED YOU AN EMPLGVER TDENTIFICATTON NUMBER

Thank you for apalying for an Employer Tdentificatian Number CEIN?. We assigned
you ETH 74-S235 2564. Was EIN will identify your business account, tax returns, and

documents, even if you haye ma enplovees. Please keep this notice in your permanent
records. :

When Filing tax documents, please use the label we provaded. Tf this isn't
possible, it 44 very important that you use your Et and cemplete name and address
exactly as shawn above on all federal tax farms, payments and related correspondence.
Any variation may cause 8 delay in precessing, pasult in incorrect information in- your
account or even cause you to be assigned more than one EIN. If the information

ten't correct as shown abave, please correct it using tear off stub from this natice

and return it t6 us sof We can correct your account.

To receive a ruling or @ determination letter recognizing: your organization
as tax exempt, you should complete Form 1923 or Form. 1024, Application for
Recognition of Exemption. and send to:

internal Revenue Service

PO Box 192
Govingten, KY GiGLzZ-O192

Publication 557, Tax Exempt for Your Organization, is available at most IRS offices
or you can dawnload this Publication from our Web site at www.irs.goVv. This
Fublication has deteils an how you car apply.

TMPORTANT REMINDERS :
* Keep a copy of thas notice in your permanent records.

% Use this EIN and your name exactly as they aprear above on all your federal
cob gat. EMM Baca eee aie _ sean cetacean .

wc rene tm geetgenm fort “Ht edt nm emiteneighecmeeci tems 6 tthe tan rane me ne en at apie mtn ty ot ae

% Refer to this EIN on your tax related correspondance and dacuments.

Tf you have questions, you can call er write ta us at the phone number or address
at the top of the first page of this notice. If you write, please tear off the stub
at the end of this notice and send it along with your jletter. Thank you for your
coaperatioan. ‘ .

*
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SECRETARY OF THE STATE
30 TRINITY STREET
P.O. BOX 150470
HARTFORD, CYT 06115-0470

AUGUST 17,2007

GLENN T TERK
81 WOLCOTT HILL .RD
WETHERSFIELD, CT 06109

RE: Acceptance of Business Filing

This letter is to confirm the acceptance of the following business
tiling: oO

Business Name:
THE CARLYLE GROUP, Luc

Work Order Number: 2007199614-001
Business Filing Number: 0003516164

Type of Request: ARTICLES OF ORGANIZATION
File Date/Time: AUG 16 2007 08:30 AM.
Bifective Date/Time:

Work Order Payment Received: 60.00
Payment Received: 60.00

Credit on Account: .00

Customer Td: 001484472

Business Id: 0309603

VANESSA MCGUIRE

Commercial Recording Division
“860-509-6003
WWW. CONCORD. SOTS.CT.GOV
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BUSINESS FILING REPORT

JORK ORDER NUMBER: 2007199614-001
3USINESS FILING NUMBER: 0003516164

SUSINESS NAME :

THE CARLYLE GROUP, LLC

BUSINESS LOCATION:

@1 WOLCOTT HILL ROAD
WETHERSFIELD,CT 06199

MEMBER INFORMATION FOR ONE MEMBER:

NAME:CARLTON GREGORY
TITLE: MEMBER

** END OF REPORT **
